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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   GABRIEL DORSEY,                                   Case No. CV 20-4681 PA (RAOx)
12                        Plaintiff,                   JUDGMENT OF DISMISSAL
13
            v.
14
     ZAVEN KHATCHATURIAN, and
15   DOES 1-10,
16                        Defendants.
17
18          In accordance with the Court’s September 25, 2020 Minute Order dismissing this

19   action for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED

20   that the action is dismissed without prejudice.

21
22   DATED: September 25, 2020

23                                                      ___________________________________
                                                                   Percy Anderson
                                                          UNITED STATES DISTRICT JUDGE
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